                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:91CR86-2-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                      ORDER
                                    )
CLYNTON CHASE,                      )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the court upon Defendant’s Motion to Reduce Sentence

Pursuant to 18 U.S.C. § 3582(C)(2), filed May 12, 2006. After reviewing Defendant’s legal

argument, it appears that the thoughts of the Government would be instructive on this matter.

The Government is therefore directed to file a response to Defendant’s motion within 30 days of

the date of entry of this Order.

       IT IS SO ORDERED.

                                                Signed: May 16, 2006




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